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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11
ASHINC Corporation, et al., Case No. 12-11564 (CSS)
(Jointly Administered)
Debtors.
BDCM OPPORTUNITY FUND II, LP, BLACK Adv. Pro. No. 14-50971 (CSS)

DIAMOND CLO 2006-1 LTD., SPECTRUM
INVESTMENT PARTNERS, L.P., BLACK.
DIAMON COMMERCIAL FINANCE, L.L.C., AS
CO-ADMINISTRATIVE AGENT, AND
SPECTRUM COMMERCIAL FINANCE LLC, AS
CO-ADMINISTRATIVE AGENT,

Plaintiffs,
Vv.

YUCAIPA AMERICAN ALLIANCE FUND I, L.P.,
YUCAIPA AMERICAN ALLIANCE (PARALLEL)
FUND I, L.P., YUCAIPA AMERICAN ALLIANCE
FUND II, L.P., YUCAIPA AMERICAN ALLIANCE
(PARALLEL) FUND II, L.P., RONALD BURKLE,
JOS OPDEWEEGH, DEREX WALKER, JEFF
PELLETIER, IRA TOCHNER, and JOSEPH
TOMCZAK,

Ref. Docket Nas. 9, 29, 39

Defendants.

 

 

AGREED ORDER
UPON CONSIDERATION of Defendants’ Motion Pursuant to Local Rule 5011-1 To

Determine Core/Non-Core Status (the “Motion”) and the certification of counsel concerning the

Th.
IY

day of 2 , 2015, hereby ORDERED

1. The Motion is GRANTED as set forth herein.

Motion, it is this

that:

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2. The Second, Third and Fourth Claims for Relief asserted by the Plaintiffs in the
Complaint (the “Complaint”), filed as Document Number | in adversary proceeding number 14-
50971, constitute non-core claims.

3. The First Claim for Relief asserted by Plaintiffs in the Complaint, which is for

equitable subordination pursuant to 11 U.S.C. § 510(c), constitutes a core claim.

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thee
THEJHONORABLE CHRISFEPHER S. SONTCHI
UNWED STATES BANKRUPTCY JUDGE

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